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                                                  U.S. Department of Justice
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                                                  April 21, 2023

VIA CM/ECF

Deborah Hunt, Clerk of Court
U.S. Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202

      RE:    State of Tennessee, et al. v. Department of Education et al., No. 22-5807
             (argument scheduled for April 26, 2023)

Dear Ms. Hunt:

       We write in response to the States’ letter regarding the Supreme Court’s
decision in Axon Enterprise, Inc. v. Federal Trade Commission, -- S. Ct. ----, 2023 WL
2938328 (U.S. Apr. 14, 2023). That case involved “extraordinary claims” brought by
respondents in ongoing administrative enforcement actions challenging “the structure
or very existence of an agency.” Id. at *3, *8. In holding that the relevant statutory
review schemes did not preclude district court jurisdiction over such claims, the Court
emphasized the “limits” of its decision, explaining “that the expense and disruption of
protracted adjudicatory proceedings on a claim do not justify immediate review.” Id.
at *9 (quotation marks omitted). “What makes the difference here,” the Court
explained, “is the nature of the claims,” i.e., that the challengers asserted that they
were “subject[] to an unconstitutionally structured decisionmaking process” and were
suffering injuries that “cannot be undone” by a favorable court of appeals ruling. Id.

       The run-of-the-mill APA claims in this case are quite different from the
structural constitutional claims in Axon Enterprise. The States do not challenge the
constitutionality of the administrative and judicial review scheme that Congress
established for Title IX enforcement-related disputes or the structure of the
Department of Education. Rather, the States’ core contention is that the
Department’s interpretation of Title IX is incorrect and that they should not be
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subject to enforcement for non-compliance. Those are precisely the type of
“enforcement-related matters” that the Department “regularly adjudicates.” Axon
Enterprise, 2023 WL 2938328 at *9 (cleaned up). Moreover, a favorable court of
appeals decision following an administrative proceeding could remedy any injuries
suffered by the States and thus would not “come too late.” Id. And the States’
constitutional claims—which the district court did not address and thus are not at
issue in this appeal—are “intertwined with or embedded in matters” concerning Title
IX’s scope “on which the [Department is] expert.” Id. at *10. For all these reasons,
Axon Enterprise provides no support for the States’ attempts to circumvent Title IX’s
exclusive review scheme.


                                       Sincerely,

                                       s/ David L. Peters
                                       David L. Peters
                                       U.S. Department of Justice
                                       Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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